      Case: 1:19-cv-00137 Document #: 32 Filed: 03/14/19 Page 1 of 2 PageID #:5273



                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 WHAM-O HOLDING, LTD. and
 INTERSPORT CORP. d/b/a WHAM-O,

          Plaintiffs,                                             Case No.: 19-cv-00137

 v.                                                               Judge Rebecca R. Pallmeyer

 THE PARTNERSHIPS AND UNINCORPORATED                              Magistrate Judge Jeffrey T. Gilbert
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.

                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                   DEFENDANT
                 207                                       robin.kim
                 158                                   Jewelryconcept
                 166                                    Lalangjewelry
                 309                                    Fantastic_tune
                 398                                       Roomside
                 321                                        Guilanb
                 351                                      Kenniya96
                 273                                        Beatable
                 443                                        yechen
                 463                                    Star Business
                 197                                     pleasantrade
                 163                                      Kidstoy657
                  60                                   9enjoyshopping
                 178                                       Moosada
                 151                                         Igeeda
                 120                                        Enerang
                 236                                        Veesang
                  67                                         areeso
                  68                                     artesdeportes
                 291                                  Dafan International
    Case: 1:19-cv-00137 Document #: 32 Filed: 03/14/19 Page 2 of 2 PageID #:5274



               261                                      acornsplaza
               441                                      acornsplaza
                                                   YANQINA     Flag Store
               272                                         bczm
               401                                 RUNSTAR Flag Store
               281                                      buybyapple
               344                                  Jani shoes fine line
                83                                         bosity
               114                                     e2wholesale
               180                                   motortradeonline
               229                                      thamesmall
               133                                        gentoys
               152                                  importjewelrylover
               239                                      watchinweb
               232                                   tradeonlineroyal
                76                                    beautylady365
               170                                  mekingstudio-cn01
               175                                       mkstudio


DATED: March 14, 2019                                Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
                                                     1033 South Blvd., Suite 200
                                                     Oak Park, Illinois 60302
                                                     Telephone: 708-203-4787
                                                     E-mail: keith@vogtip.com

                                                     ATTORNEY FOR PLAINTIFF




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on March 14, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
